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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE
     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
     v.                            )          2:11cr191-MHT
                                   )               (WO)
KELVIN DEWAYNE ANDERSON            )
                                ORDER

    It    is    ORDERED     that       defendant    Kelvin     Dewayne

Anderson’s motion for sentence reduction (doc. no. 575)

is referred to the Retroactivity Screening Panel for

recommendation.

    DONE, this the 22nd day of February, 2016.

                                   _/s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
